       Case 4:22-cr-00028-CDL-MSH Document 45 Filed 01/23/23 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION


 UNITED STATES OF AMERICA

 VS.                                                      Case No. 4:22-cr-0028-CDL-MSH

 GEORGE IAKOVOU-001

                       ORDER SETTING PRETRIAL CONFERENCE

       The pretrial conference in this case will be held at the United States District Courthouse,

located at 120 12th Street in Columbus, Georgia 31901, at 10:00am on Wednesday, February 22,

2023. In case of a plea, counsel shall email notification of the plea, and a copy of the plea

agreement if possible, to the courtroom deputy (geoffery_gunn@gamd.uscourts.gov) no later than

three (3) business days prior to the pretrial conference. Counsel shall file motions to continue no

later than five (5) business days prior to the pretrial conference.

       The beginning trial date of this case will be determined at the pretrial conference following

discussion with counsel and consideration of the Court’s schedule.

       All Defendants shall be present with counsel at the above scheduled proceedings and it is

the responsibility of defense counsel to notify any defendant not in custody of the date, time, and

location of court proceedings in the case.

       1. Pretrial motions shall be filed no later than fourteen (14) days prior to the pretrial

           conference and any response briefs shall be filed within seven (7) days. Should an

           evidentiary hearing be necessary, counsel shall notify the courtroom deputy at least

           seven (7) days prior to the pretrial conference. For any contested motions, witnesses



                                                  1
Case 4:22-cr-00028-CDL-MSH Document 45 Filed 01/23/23 Page 2 of 3




   should be present to testify and evidence should be available to present to the court.

2. Counsel shall file any proposed voir dire, requests to charge and verdict forms no later

   than seven (7) days prior to trial. Failure to timely file these proposed documents may

   result in waiver of the same.

3. Copies of juror questionnaires will be available electronically through CM/ECF one

   week prior to jury selection. It is the responsibility of each attorney to review these

   questionnaires prior to trial as the information contained therein will not be repeated

   during voir dire. Any questions regarding access to questionnaires should be directed

   to the Clerk’s Office.

4. Defense counsel is responsible for notifying the courtroom deputy clerk by telephone

   or email WITHIN SEVEN (7) DAYS of the filing of this order if an interpreter is

   needed for the pretrial conference.         Counsel is advised not to file motions for

   appointment of interpreters.

5. Counsel for the government and the defendant(s) are requested to email a proposed

   exhibit   list   and   a     proposed   witness    list    to    the   courtroom         deputy   at

   geoffery_gunn@gamd.uscourts.gov no later than NOON the FRIDAY before the first

   day of trial. This request is for administrative purposes, and the Court will not

   disclose either party’s list to the opposing party without permission from the party

   producing the list.

6. Electronic evidence files should be provided to the courtroom deputy no later than the

   first     day    of        trial.       Please     refer        to     the      court       website

   http://www.gamd.uscourts.gov/technology           for     information        regarding    available

   courtroom technology and instructions on how to format and submit electronic

                                           2
Case 4:22-cr-00028-CDL-MSH Document 45 Filed 01/23/23 Page 3 of 3




   evidence, specifically the instructions concerning the Jury Evidence Recording System

   (JERS). PLEASE NOTE: The parties are hereby on notice that both paper copies

   and electronic versions of all admitted exhibits will go out with the jury during

   deliberations. Additionally, the Court will take custody of each paper exhibit AS IT

   IS ADMITTED INTO EVIDENCE.

SO ORDERED, this January 23, 2023

                                      S/CLAY D. LAND
                                      CLAY D. LAND
                                      UNITED STATES DISTRICT JUDGE




                                       3
